         Case 1:21-cv-06780-PGG Document 50 Filed 11/03/21 Page 1 of 1


                              MEMO ENDORSED:
                              The application is granted. The initial pretrial conference scheduled for November 4, 2021 is
                              adjourned to December 2, 2021 at 10:45 a.m. The parties are directed to dial 888-363-4749
                              to participate, and to enter the access code 6212642. The press and public may obtain access
                              to the telephone conference by dialing the same number and using the same access code. The
                              Court is holding multiple telephone conferences on this date. The parties should call in at the
                              scheduled time and wait on the line for their case to be called. At that time, the Court will un-
                              mute the parties' lines. Two days before the conference, the parties must email
                              Michael_Ruocco@nysd.uscourts.gov and GardepheNYSDChambers@nysd.uscourts.gov
                              with the phone numbers that the parties will be using to dial into the conference so that the
                              Court knows which numbers to un-mute. The email should include the case name and case
                              number in the subject line.
BY ECF
The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square, Room 2204
New York, New York 10007
                                                          Dated: November 3, 2021
RE:    Shaibi v. Jaddou, 1:2 l-cv-06780-PGG
       Unopposed Request for Adjournment of the November 4, 2021 Conference

Dear Judge Gardephe:

We are attorneys representing 54 Yemeni-American families in the above referenced action, in
which plaintiffs seek to enjoin Defendants' Yemeni 1-130 policy and order USCIS to adjudicate
unreasonably delayed and unlawfully withheld 1-130 petitions. Plaintiffs humbly request an
adjournment of the conference set for November 4, 2021. Lead counsel, Rafael Urena, will be
unavailable on the date of the pre-trial conference. Mr. Urena’s partner has just given birth to
their first child, and will need additional time to prepare. Plaintiffs will be prejudiced if Mr.
Urena is unable to adequately prepare and subsequently participate in the conference. Mr. Urena
apologizes to all of the parties to the action for any inconvenience caused by the adjournment.

Defendants have stated that they do not oppose the request and have even indicated their consent
to a joint request rescheduling the conference to November 18, 2021 or a time thereafter. This is
Plaintiffs’ first request for an adjournment. We thank the Court for its consideration of the
request, and again apologize for any inconvenience


                                                         Respectfully submitted,
                                                         /s/Rafael Urena
                                                         Rafael Urena*
                                                         Curtis Morrison*
                                                         Jana Al-Akhras*
                                                         Jonathan Aftalion*
                                                         Pro Hac Vice
                                                         Attorneys for the Plaintiffs




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